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                   9                               UNITED STATES DISTRICT COURT
              10
                                                  NORTHERN DISTRICT OF CALIFORNIA
              11
                                                                   Case No. 4:11-03937-DMR
              12       WELLS FARGO BANK, NA, as Trustee
                       for the Registered Holders of J.P.          [PROPOSED] ORDER GRANTING
              13       Morgan Chase Commercial Mortgage            MOTION BY RECEIVER FOR APPROVAL
                                                                   OF FINAL ACCOUNT AND REPORT,
              14       Securities Trust 2007-CIBC 20               APPROVAL OF DISBURSEMENTS,
                       Commercial Mortgage Pass-Through            DISCHARGE OF RECEIVER, AND
              15       Certificates, Series 2007-CIBC 20, acting   EXONERATION OF BOND
                       by and through C-III Asset Management,
              16       its Special Servicer,                       Hearing:
                                                                   Date:           December 12, 2013
              17                     Plaintiff,                    Time:           11:00 a.m.
                                                                   Courtroom:      4, 3rd Floor
              18       v.                                          Judge:          Magistrate Judge Donna M. Ryu

              19       ALUM LANDLORD (DE) QRS16-105                Action Filed:   August 11, 2011
                       INC.,
              20
                                     Defendant.
              21

              22             The Motion of the Court-appointed receiver J. Eric Johnson (“Receiver”) for an order
              23 approving the Receiver’s Final Account and Report, approving disbursements, discharging the
                                                                   is before the court. [Docket No. 30.]
              24 Receiver, and exonerating the Receiver’s bond came on for hearing on December 12, 2013 in the
                       On November 21, 2013, the court determined that this matter was appropriate for
              25 above-captioned Court. Appearances were made as noted in the record. resolution without a hearing
                                                                                         pursuant to Civil L.R.7-1(b).
              26             Having read and considered the Final Account and Report, and being fully advised of the
              27 premises, the Court finds that the Final Account and Report is true, complete, and correct, and that

              28 the Receiver has duly accounted for all moneys and other property coming into his hands.
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DUANE MORRIS LLP
   SAN FRANCISCO       [PROPOSED] ORDER APPROVING RECEIVER’S FINAL ACCOUNT AND REPORT - CASE NO. C-11-03937-DMR
                              Case 4:11-cv-03937-DMR Document
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                        The court notes that any brief in opposition to the Receiver's motion was due on
                        November 20, 2013, but no such opposition has been received by the court to date.
                        Accordingly,
                   1             IT IS ORDERED THAT:
                   2             1.        The Receiver’s Final Account and Report is hereby approved;
                   3             2.        The interim distribution to plaintiff Wells Fargo Bank, N.A., as Trustee for the
                   4 Registered Holders of J.P. Morgan Chase Commercial Mortgage Securities Trust 2007-CIBC 20

                   5 Commercial Mortgage Pass-Through Certificates, Series 2007-CIBC 20, acting by and through C -

                   6   III Asset Management, its Special Servicer (“Plaintiff”), in the amount of $1,005,824.17 is hereby
                   7 approved.

                   8             3.        The interim payment of Receiver’s fees in the amount of $101,860 and property
                   9 management fees in the amount of $112,600 are hereby approved.

              10                 4.        The interim payment of legal fees to Duane Morris LLP in the amount of $24,055.23
              11 is hereby approved together with unpaid fees in the amount of $5,540.10. The Receiver may pay

              12 final fees in the amount of up to $2000.00, with any remainder to be distributed to Plaintiff Wells

              13 Fargo Bank, N.A.

              14                 5.        The Receiver is authorized to distribute the sum of $96,238.21 to Plaintiff.
              15                 6.        The Receiver and the receivership estate shall have no further liability in this matter.
              16                 7.        The Receiver is hereby discharged and his bond is exonerated.
              17 IT IS SO ORDERED.

              18
              19                  November 27
                        Dated: ___________________, 2013
              20                                                                        HONORABLE DONNA M. RYU
                                                                                          MAGISTRATE JUDGE OF
              21                                                                           U.S. DISTRICT COURT

              22

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DUANE MORRIS LLP
   SAN FRANCISCO         [PROPOSED] ORDER APPROVING RECEIVER’S FINAL ACCOUNT AND REPORT - CASE NO. C-11-03937-DMR
